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                     Exhibit 88
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION OF THE                            MASTER DOCKET
KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                                  18-md-2865 (LAK)
SCHEME LITIGATION

This document relates to all cases listed in Appendix A.



                       EXPERT REPORT OF MARCIA S. WAGNER

           CONFIDENTIAL PURSUANT TO RULE 26(C) PROTECTIVE ORDER




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                         being used for, or diverted to, any purpose other than for the exclusive benefit
                         of the participants and the beneficiaries of that particular adopting plan;

                     x   The group trust instrument expressly provides for separate accounts (and
                         appropriate records) to be maintained to reflect the interest which each
                         adopting group trust retiree benefit plan has in the group trust, including
                         separate accounting for contributions, disbursements and investment
                         experience; and

                     x   The group trust instrument expressly prohibits an assignment by an adopting
                         plan trust of any part of its equity or interest in the group trust.

         E.          Other Conditions for Tax Qualification

         104.        In order to qualify for the tax advantages of plan sponsorship and participation,

the sponsor of a solo 401(k) plan, whether an individual or the individual’s LLC, is required to

show that it is carrying on a trade or business by engaging in an income-generating activity for

profit on a regular and continuous basis. Investment activity by the plan itself, such as the

purported Plan investments in Danish stocks, is not taken into account for this purpose.

III.     OPERATIONAL STANDARDS FOR TAX-QUALIFIED 401(K) PLANS

         105.        U.S. law imposes a wide variety of other legal obligations on qualified pension

plans, including regulatory reporting, disclosure and operational requirements. Failure to comply

with these requirements may lead to the imposition of financial or other penalties on a plan or

sponsor. Even where the ERISA statute does not apply, by its terms, its protections are

nevertheless generally accepted as a uniform national standard for service providers and

fiduciaries to follow. Legitimate pension plans are created in order to assist their participants in

saving for retirement and enable both participants and their employers to enjoy certain tax

advantages in doing so. Plan sponsors and vendors in the retirement industry make a point of

operating and administering their plans in accordance with applicable legal obligations and the

generally accepted standards enshrined in ERISA so as not to compromise or diminish these

objectives. However, the Plans did not abide by one or more of the following legal obligations.

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requirement is to prevent a plan from becoming locked into a situation that becomes

disadvantageous. In addition, a services arrangement will only be treated as reasonable if the

service provider makes certain disclosures to the plan regarding its direct and indirect

compensation and whether its services will be performed in a fiduciary capacity.

                     3.     Reasonable Compensation.

         112.        As to what constitutes reasonable compensation for the provision of services, the

most important factor is whether the compensation is comparable to compensation paid to others

performing similar services. Typically, fees in excess of 20% of profits may be considered

unreasonable by the IRS and/or the DOL.

         113.        If the parties to a plan services arrangement fail to meet these conditions, the

Code imposes an excise tax on a party participating in the resulting prohibited transaction equal

to 15% of the “amount involved” in the transaction. A second tier-tax equal to 100% of the

amount involved is imposed if the transaction is not corrected within a specified period.

         C.          Stock Lending Exemption

         114.        Both the Code and ERISA prohibit certain other transactions between a plan and a

disqualified person, such as a fiduciary or plan service provider, such as the lending of money or

shares or other extension of credit.240 In order to permit certain loans relating to plan assets

consisting of securities that may be beneficial to plans and involve a bank or broker-dealer, the

DOL issued a class exemption from Code and ERISA prohibited transaction rules conditioned on

detailed safeguards protecting plan interests.241




240.Code Section 4975(c)(1)(B).

241.DOL Prohibited Transaction Exemption 2006-16.

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should have taken are not based on a hindsight assessment. A scheme of this complexity

presented numerous and diverse factual circumstances of a suspicious nature and “major”377

legal issues that needed to be resolved. Ben-Jacob failed to take the basic steps of investigating

the suspicious facts and addressing and resolving the major issues his clients needed to clear up

in order to justify his assistance in implementing the scheme.

                                        * * * * * * * *
         This Report is executed this 31st day of December 2021 at Boston, Massachusetts.




                                                 Marcia S. Wagner, Esq.




377.WH_MDL_00369263 (Ex. 4512).

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